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The Honorable Donald W. Molloy
United States District Judge
United States District Court
District of Montana

201 E. Broadway

Missoula, MT 59802

Dear Judge Molloy,

My name is Madilyn Marshall and | am writing this letter on behalf of my dad, Matthew
Marshall. My dad is definitely one of the most selfless people | have ever met, he is
always doing things for other people and trying to help in any way he can. If someone
ever were to ask me to describe him | would say he is truly one of a kind. My dad has
always been and always will be my biggest supporter in life with anything | do.

My whole life, my dad and | have always been super close, he is my best friend. | know
that | can rely on him for anything whenever | need. We enjoy doing many things
together, we have a lot in common and! am a lot like him. We listen to the same music,
enjoy being active together and we love the same movies. Even if he doesn’t necessarily
agree with something | like or want to do, he is always very accepting of my decisions
and gives me the best advice and always reminds me that choices we make will follow
us for the rest of our lives, good or bad.

To be someone’s best friend means that you have their back no matter what. You are
always going to be there for them no matter the circumstances to talk to, cry to, laugh
with, or to just vent. Although being a best friend is a huge responsibility, my dad has
never let me down. | could think of many times where he has helped me through things
that now looking back on, | don’t think | could’ve gotten through them without him. An
example would be last year when | had my junior prom and | was talking to a boy from
another school and he had asked me to go to his prom with him. This boy had never met
my parents until prom night when he picked me up. That night, at the after party he
promised me he wouldn’t drink any alcohol because he knew he had to take me home
at the end of the night. As the night went on at the after party, he ended up drinking too
much alcohol, got sick, and left me at this party where | didn’t know anyone but a
handful of people. So, | called my dad at 1:00 A.M. and asked him to pick me and a
girlfriend up because we had no way of getting home safely. Like the great dad he is, he
got in his car and drove 20 minutes all the way to Kalispell and picked us up. No
questions asked, he didn’t scold me or make the end of my night any worse than it
already was at that point. On the way home, | remember thinking how grateful | should
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be to have a dad that is willing to stay up that late and drive me home because he cares
about nothing more than my safety. We laughed in the car the whole way back home,
talking about the most random things and him reinforcing to me how proud he was of
me to make the smart decision and just calling him. Looking back, | realize | have always
been able to depend on him, to know he would be there regardless of the time or the
circumstances.

When | was younger, my dad was overseas a lot of the time working. Most of my
childhood was spent without him being home with me and my mom often times for
months and months. As terrible as that was, my parents made the most of it by buying a
video camera so my mom could take videos of me as a baby and send them to my dad
each day so he didn’t miss my first words, my first tooth, bath time, or all of the other
things that we take for granted. My mom was even able to get my first steps on video,
which not a lot of people can say they have. My point is that even with my dad being
away a lot of the time, we are still incredibly close, and if anything, it has always made
our relationship stronger. | remember when | got my first bike and | couldn’t wait to ride
it so whenever | wanted to we would go outside for hours just so | could ride my new
bike in the driveway. He’s the one that has taught me how to tie on a tourniquet, tie a
safety knot, kick a soccer ball, change a tire, work hard, be humble, and most
importantly helped me be a better person. | guess something I’ve learned through all of
this is we take people being present for granted and until we realize that’s not a
guarantee, we don’t understand how fortunate we are to have parents that love us
unconditionally.

One thing that will always stick in my mind and really made an impact on me growing up
is a time shortly after we moved to Montana, my soccer coach was a young woman
named Kelsey Timothy. | remember at one point her telling our team that she was
taking a break for the rest of the season because she was dealing with some health
issues. | don’t think any of us really understood at that age but she met with some of
our parents afterwards and told them she had a terminal brain tumor. My parents told
me that later that night and although they were careful with how they told me | knew it
was a terrible thing. | will never forget how my dad got with other parents and asked
them if they knew of something that could be done and basically everyone had kind of
lost hope. | know my dad called every person he knew and was working nonstop to get
some alternative medical opinions. He also learned that coach Timothy was planning on
getting married and wanted to desperately start a family. My mom and dad asked coach
and her husband over for dinner and asked them if they had any plans for some kind of
honeymoon. | remember coach crying saying they really didn’t have the money and she
couldn’t afford to take off work to take a honeymoon. My dad didn’t say anything at the
time but after they left | remember like it was yesterday him telling me and my mom
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that no matter what we had to do, we were going to plan and send them on their dream
vacation. | will never forget the next my parents invited them over for dinner my dad
had managed to plan coach and her husband a dream vacation and paid for everything
to include any wages she would have lost while they went on their honeymoon. The
feeling that gave me will stay with me forever. Seeing my dad put people as a priority
that he barely knew was a valuable lesson for me. Knowing he had such a life changing
impact on coach Timothy and that she was able to live out a dream as she battled for
her life was one of the best things I’ve ever experienced. | thank God that not long after
they got back from the trip that she was able to get pregnant and give birth to a healthy
baby boy. As I’m typing it breaks my heart that she only got to be with her son for such a
short time before she passed away but it also makes me appreciate time with family.

A father-daughter relationship is truly so important and | am very thankful for what my
dad and | have. Yes, he is the one who taught me how to ride my first bike, drive a car
and change a tire, but more importantly the one who taught me things like respect,
discipline, honesty and responsibility. There is so much | want to say but | would need to
write a whole book just to fit in every “#1 Dad” moment he’s had, but | do know that he
is no matter what the best at giving me advice, making me feel loved, comforted, and
teaching me how to be a better person overall. He is the epitome of a perfect dad. | am
grateful for him always and | love him more than he will ever know.

Respectfully,

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Madilyn E. Marshall
